Case 1:16-cv-00745-PLF Document 6-2 Filed 04/26/16 Page1of1

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

NATIONAL VETERANS LEGAL
SERVICES PROGRAM, NATIONAL
CONSUMER LAW CENTER, and
ALLIANCE FOR JUSTICE,
on behalf of themselves and all others Case No. 1:16-cv-00745 (ESH)
similarly situated,
. CLASS ACTION
Plaintiffs,
V.

UNITED STATES OF AMERICA,

Defendant.

[PROPOSED] ORDER GRANTING MOTION FOR
ADMISSION PRO HAC VICE OF WILLIAM. H. NARWOLD

IT IS ORDERED that William H. Narwold is admitted to practice pro hac vice in the

United States District Court for the District of Columbia in the above-captioned matter.

Dated:

Ellen S. Huvelle
United States District Judge

